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                United States Court of Appeals
                                  For the First Circuit
                                      _____________________

 No. 15-1986
                                          BETH E. SHEA

                                         Plaintiff - Appellee

                                  GEORGE F. GORMLEY, P.C.

                                              Plaintiff

                                                  v.

      R. BRADFORD PORTER, individually and in his official capacity as an Officer of the
                            Massachusetts State Police

                                       Defendant - Appellant

 MARIAN J. MCGOVERN, Colonel Commanding, individually and in her official capacity as an
 Officer of the Massachusetts State Police; MARK F. DELANEY, individually and in his official
 capacity as an Officer of the Massachusetts State Police; BRIAN CONNORS, individually and
  in his official capacity as an Officer of the Massachusetts State Police; DAVID DEBUCCIA,
      individually and in his official capacity as an Officer of the Massachusetts State Police

                                             Defendants

                                       __________________

                                           JUDGMENT

                                    Entered: November 2, 2015
                                   Pursuant to 1st Cir. R. 27.0(d)

          Upon consideration of the parties' stipulated motion, it is hereby ordered that this appeal
 be voluntarily dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

        Mandate to issue forthwith.



                                                       By the Court:

                                                       /s/ Margaret Carter, Clerk
Case: 15-1986
         Case 1:08-cv-12148-FDS
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                                   2   Date
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 cc:
 Richard A. Goren
 Ryan D. Sullivan
 George F. Gormley
 Joseph P. Kittredge
 Margaret A. Rubino
 Sarah M. Joss
 Jeremy Silverfine
 Leonard H. Kesten
 Austin Michael Joyce
 Andrew Joseph Gambaccini
 Argiro Kosmetatos Shapiro
 Sean William Farrell
 Sean E. Capplis
 Daniel P. Sullivan
